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                          UNITED STATES DISTRICT COURT
                               Northern District of Ohio

UNITED STATES OF AMERICA
                                      Plaintiff,
v.                                                   Case No.: 4:16−cr−00088−SL
                                                     Judge Sara Lioi
Jennifer A. Lee, et al.
                                      Defendant.



                               SCHEDULING NOTICE



PLEASE TAKE NOTICE OF THE FOLLOWING:
       Notice of Hearing as to defendant Jennifer A. Lee; an initial appearance and
arraignment are scheduled for 5/10/16 at 11:00 AM in Courtroom 242 in Youngstown,
Ohio before Magistrate Judge George J. Limbert. (S,AA)


PLACE
Thomas D. Lambros
United States Courthouse & Federal Building
125 Market Street
Youngstown, OH
44503
May 9, 2016


                                                                 Geri M. Smith, Clerk
                                                     Anita Ann Schenker, Deputy Clerk
